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   1
                          UNITED STATES DISTRICT COURT
   2
                        CENTRAL DISTRICT OF CALIFORNIA
   3
   4                                           Case No. 2:22-cv-00047-GW-GJS
       Skot Heckman, Luis Ponce, Jeanene
   5   Popp, and Jacob Roberts, on behalf of
       themselves and all those similarly
   6   situated,                               JOINT STIPULATION BETWEEN
                                               PLAINTIFFS AND NONPARTY
   7                     Plaintiffs,           NEW ERA ADR, INC. SETTING
                                               BRIEFING SCHEDULE
   8   v.
   9                                           [Civil Local Rule 7-1]
       Live Nation Entertainment, Inc., and
  10   Ticketmaster LLC,                       Assigned to: Honorable George H. Wu
  11                     Defendants.
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                                               JOINT STIPULATION BETWEEN PLAINTIFFS AND
                                                     NONPARTY NEW ERA ADR, INC. SETTING
                                                                      BRIEFING SCHEDULE
                                                             CASE NO 2 22 CV 00047 GW GJS
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   1
             Plaintiffs Skot Heckman, Luis Ponce, Jeanene Popp, and Jacob Roberts
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       (together, “Plaintiffs”) and third-party New Era ADR, Inc. (“New Era”) hereby
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       stipulate and agree, through their undersigned counsel and pursuant to Local Rule 7-
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       1, to the following schedule, subject to the approval of the Court. In support of this
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       joint stipulation, the parties state as follows:
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             1.      Plaintiffs filed their Complaint on January 4, 2022. ECF No. 1.
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             2.      On June 9, 2022, the Court authorized Plaintiffs to serve discovery on
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       the issue of unconscionability. ECF No. 50.
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             3.      Plaintiffs thereafter served document requests and a deposition notice
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       on New Era, to which New Era served responses and objections on August 1, 2022.
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             4.      Plaintiffs and New Era have met and conferred several times regarding
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       New Era’s responses and objections but have reached impasse on several of
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       Plaintiffs’ document requests and deposition topics. New Era has informed Plaintiffs
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       that it intends to move to quash portions of Plaintiffs’ document subpoena and
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       deposition subpoena based on those objections. New Era and Plaintiffs have agreed
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       that any motion to be quash may be heard by this Court, though Plaintiffs reserve
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       the right to oppose the motion on any grounds other than that venue is improper in
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       this Court.
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             5.      Plaintiffs and New Era have therefore agreed to the following briefing
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       schedule on New Era’s motion to quash:
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                     a.    New Era shall file their motion to quash on or before September
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                           26, 2022.
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                     b.    Plaintiffs shall file any opposition on or before October 11, 2022.
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                     c.    New Era shall file any reply on or before October 19, 2022.
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                     d.    Any hearing on New Era’s motion to quash shall be heard on
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                           November 7, 2022, or the earliest date thereafter that the Court’s
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                           calendar allows.
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                                                          JOINT STIPULATION BETWEEN PLAINTIFFS AND
                                                    1           NONPARTY NEW ERA ADR, INC. SETTING
                                                                                 BRIEFING SCHEDULE
                                                                        CASE NO 2 22 CV 00047 GW GJS
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               Plaintiffs and New Era therefore agree and stipulate to the above dates.
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          Dated: September 26, 2022                 QUINN EMANUEL URQUHART &
      3                                             SULLIVAN, LLP
      4
      5                                       By: /s/ Kevin Y. Teruya
                                                  Kevin Y. Teruya (Bar No. 235916)
      6
                                                    865 South Figueroa Street, 10th Floor
      7                                             Los Angeles, CA 90017-2543
                                                    Telephone: (213) 443-3000
      8                                             Facsimile: (213) 443-3100
                                                    fredlorig@quinnemanuel.com
      9
                                                    Attorneys for Plaintiffs Skot Heckman,
     10                                             Luis Ponce, Jeanene Popp, and Jacob
                                                    Roberts
     11
     12                                                RILEY SAFER HOLMES &
     13                                                CANCILA LLP

     14                                       By: /s/ Joshua A. Roquemore
                                                  Joshua A. Roquemore (SBN 327121)
     15
     16                                                100 Spectrum Center Drive, Suite 440
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     17                                                Telephone: (949) 359-5500
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                                                       jroquemore@rshc-law.com
     19
     20                                                Sandra L. Musumeci (pro hac vice
                                                       forthcoming)
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     22                                                New York, NY 10016
                                                       Telephone: (212) 660-1000
     23                                                Facsimile: (212) 660-1001
     24                                                smusumeci@rshc-law.com

     25                                            Attorneys for Nonparty New Era ADR,
     26                                            Inc.

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.1                                                      JOINT STIPULATION BETWEEN PLAINTIFFS AND
                                                   2          NONPARTY NEW ERA ADR, INC. SETTING
                                                                               BRIEFING SCHEDULE
                                                                      CASE NO 2 22 CV 00047 GW GJS
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      1
                                            ATTESTATION
      2
                I am the ECF user whose identification and password are being used to file
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          the foregoing Joint Stipulation Setting Briefing Schedule. Pursuant to Civil Local
      4
          Rule 5-4.3.4(a)(2)(i), I, Joshua A. Roquemore, attest that all other signatories listed,
      5
          and on whose behalf the filing is submitted, concur in this filing’s content and have
      6
          authorized such filing.
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      8
           Dated: September 26, 2022                           /s/ Joshua A. Roquemore
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.1                                                        JOINT STIPULATION BETWEEN PLAINTIFFS AND
                                                      3         NONPARTY NEW ERA ADR, INC. SETTING
                                                                                 BRIEFING SCHEDULE
                                                                        CASE NO 2 22 CV 00047 GW GJS
